JS 44C/SDNY
REV. 06/01/17

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The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS
TAYLOR GILBERT

DEFENDANTS
INDEED, INC., AARON SCHWARTZ, ALEXA WACHSTEIN, GABRIELLE

VERBARO and MICHELLE LAM

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER
Tiffany Ma, Esq., Young & Ma LLP, 575 Lexington Ave, Fl 4, New York, NY

10022, 212-971-9773; Martin S. Hyman, Esq., Golenbock Eiseman Assor
Bell & Peskoe LLP, 711 Third Ave, New York, NY 10017, 212-907-7360

ATTORNEYS (IF KNOWN)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq.; Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No VlYesX]

If yes, was this case Vol.[_] Invol. [|] Dismissed. No[_] Yes [_] & Case No.

No Yes EJ

If yes, give date

Is THIS AN INTERNATIONAL ARBITRATION CASE?

(PLACE AN [x] IN ONE BOX ONLY)

TORTS

CONTRACT PERSONAL INJURY

[ ]110 INSURANCE [ ]310 AIRPLANE

[ ]120 MARINE [ ]315 AIRPLANE PRODUCT

[ ] 130 MILLER ACT LIABILITY

[ ]140 NEGOTIABLE [ ]320 ASSAULT, LIBEL &
INSTRUMENT SLANDER

[ ] 150 RECOVERY OF [ ]330 FEDERAL
OVERPAYMENT & EMPLOYERS'
ENFORCEMENT LIABILITY
OF JUDGMENT [ ]340 MARINE

[ ]151 MEDICARE ACT [ ]345 MARINE PRODUCT

[ ]152 RECOVERY OF LIABILITY
DEFAULTED [ ]350 MOTOR VEHICLE
STUDENT LOANS — [ ] 355 MOTOR VEHICLE
(EXCL VETERANS) PRODUCT LIABILITY

[ ]153 RECOVERY OF [ ]360 OTHER PERSONAL
OVERPAYMENT INJURY
OF VETERAN'S [ ]362 PERSONAL INJURY -
BENEFITS MED MALPRACTICE

[ ] 160 STOCKHOLDERS
SUITS

[ ] 190 OTHER
CONTRACT

[ ]195 CONTRACT
PRODUCT ACTIONS UNDER STATUTES
LIABILITY

[ ]196 FRANCHISE CIVIL RIGHTS

[ ]440 OTHER CIVIL RIGHTS
(Non-Prisoner)

[ 1441 VOTING

REAL PROPERTY

[ ]210 LAND [x] 442 EMPLOYMENT
CONDEMNATION _ [ ]443 HOUSING/

[ ]220 FORECLOSURE ACCOMMODATIONS

[ ]230 RENT LEASE & [ ]445 AMERICANS WITH
EJECTMENT DISABILITIES -

[ ]240 TORTS TO LAND EMPLOYMENT

[ ] 245 TORTPRODUCT _[ ] 446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER

[ ] 290 ALL OTHER [ ]448 EDUCATION

REAL PROPERTY

Check if demanded in complaint:

 

CHECK IF THIS IS ACLASS ACTION
UNDER F.R.C.P. 23

 

 

 

DEMAND $ OTHER

Check YES only if demanded in complaint
JURY DEMAND: Xl YEs LNO

NATURE OF SUIT

ACTIONS UNDER STATUTES

PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY
[ ]367 HEALTHCARE/
PHARMACEUTICAL PERSONAL [ ]625 DRUG RELATED [ ]422 APPEAL
INJURY/PRODUCT LIABILITY SEIZURE OF PROPERTY 28 USC 158
[ ]365 PERSONAL INJURY 21 USC 881 [ ]423 WITHDRAWAL
PRODUCT LIABILITY 28 USC 157
[ ]368 ASBESTOS PERSONAL [ 1690 OTHER
INJURY PRODUCT
LIABILITY PROPERTY RIGHTS
PERSONAL PROPERTY [ ]820 COPYRIGHTS
[ ]830 PATENT
[ ]370 OTHER FRAUD _
[ 1371 TRUTH IN LENDING [ ]835 PATENT-ABBREVIATED NEW DRUG APPLICATION
[ ]840 TRADEMARK
SOCIAL SECURITY
[ ]380 OTHER PERSONAL LABOR [ ] 861 HIA (1395ff)
PROPERTY DAMAGE [ ]862 BLACK LUNG (923)
[ ]385 PROPERTY DAMAGE [ ]710 FAIR LABOR [ ]863 DIWC/DIWW (405(g))
PRODUCT LIABILITY STANDARDS ACT [ ]864 SSID TITLE XVI
[ ] 720 LABOR/MGMT [ ]865 RSI (405(g))
PRISONER PETITIONS RELATIONS

[ ] 463 ALIEN DETAINEE

[ ]510 MOTIONS TO
VACATE SENTENCE
28 USC 2255

[ ] 740 RAILWAY LABOR ACT

[ ] 751 FAMILY MEDICAL
LEAVE ACT (FMLA)

FEDERAL TAX SUITS

[ ]870 TAXES (U.S. Plaintiff or

[ ]530 HABEAS CORPUS [ ] 790 OTHER LABOR Defendant)
[ ]535 DEATH PENALTY LITIGATION [ ]871 IRS-THIRD PARTY
[ ]540 MANDAMUS & OTHER _[ ] 791 EMPL RET INC 26 USC 7609

SECURITY ACT (ERISA)

IMMIGRATION
PRISONER CIVIL RIGHTS
[ ] 462 NATURALIZATION

[ ] 550 CIVIL RIGHTS APPLICATION
[ ]555 PRISON CONDITION [ ]465 OTHER IMMIGRATION
[ ]560 CIVIL DETAINEE ACTIONS

CONDITIONS OF CONFINEMENT

OTHER STATUTES

[ 1375 FALSE CLAIMS
[ 1376 QUI TAM

[ ]400 STATE
REAPPORTIONMENT

[ ]410 ANTITRUST

[ ]430 BANKS & BANKING

[ ]450 COMMERCE

[ ]460 DEPORTATION

[ ]470 RACKETEER INFLU-
ENCED & CORRUPT
ORGANIZATION ACT
(RICO)

[ ]480 CONSUMER CREDIT

[ ]490 CABLE/SATELLITE TV

[ ] 850 SECURITIES/
COMMODITIES/
EXCHANGE

[ ]890 OTHER STATUTORY
ACTIONS
[ ]891 AGRICULTURAL ACTS

[ ] 893 ENVIRONMENTAL
MATTERS
[ ]895 FREEDOM OF
INFORMATION ACT
[ ] 896 ARBITRATION
[ ] 899 ADMINISTRATIVE
PROCEDURE ACT/REVIEW OR
APPEAL OF AGENCY DECISION

[ ] 950 CONSTITUTIONALITY OF
STATE STATUTES

DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?

IF SO, STATE:

JUDGE

 

DOCKET NUMBER

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
1 Original [_] 2 Removed from [-]3 Remanded [_]4 Reinstatedor  [_] 5 Transferred from [] 6 litigation 7 eo.
: Specify District
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Appellate
| a. all parties represented Court
| 8 Multidistrict Litigation (Direct File)

[| b. Atleast one party

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[11 U.S. PLAINTIFF [_]2 U.S. DEFENDANT 3 FEDERAL QUESTION 14 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE []1 []1 CITIZEN OR SUBJECT OF A []3[]3 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE [ ]4[ ]4 FOREIGN NATION [16 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Taylor Gilbert

c/o Young & Ma LLP

575 Lexington Avenue, Floor 4

New York, NY 10022

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

Indeed, Inc.
1120 Avenue of the Americas, 9th Floor
New York, NY 10036

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTIO) SHOUL D/BE ASSIGNED TO: L_] WHITE PLAINS MANHATTAN

DATE y £ ee Fe ADMITTED TO PRACTICE IN THIS DISTRICT
05/18/2020  siGNATURE/OF ATTORAEY OF RECORD 1 NO

[x] YES (DATE ADMITTED Mo.09 Yr. 2008 _)
RECEIPT # ANYSDC-19865944 Attorney Bar Code #TM3651

Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
